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                                                                          EXHIBIT
                                                                             B

                                                 S1111VlMARY OF TIMEKEEPERS INCLUDED IN THIS FEEAPPLICATION


                                 i                                           I
                      NAME       i    TITLE OR     DEPARTMENT,) DATE OF FIRS1!          FEES         ~     HOURS                HOURLY RATE BILLED                         NUMBER
                                      POSITION      GROUP, OR ~ ADMISSION S ~          BILLED              BILLED                                                          OF RATE
                                 ~               i   SECTION                 ~                                                                                      (     INCREASES
                                                                                                                                                 IN FIRST INTERIM
                                 'i                                               IIVCHISAPPLICAIION IIK'IHISAPPLICATION   IN THISAPPLICATIONI     APPLICATION          SINCE CASEINCEPTIONj


    Delete        Laura Davis    Partner          Bankruptcy      '1986       ;       $58,117.50                  56.70;        $1,025.0              $1,025.00
                  Jones                                                                                                ~
    Delete        Jeffrey N.      Partner         Bankruptcy      '1989                   $626.50;                 0.70            $895.00               $895.00
                  Pomerantz                                       ~                               ~
                                                                                                                                                                                               Case 15-11880-BLS




    Delete        David M.        Partner        Bankruptcy        1993                 $2,537.50                   2.90           $875.00               $875.00                         0
                  Bertenthal     j
    Delete        Sohn A. Morris Partner          Bankruptcy      1991        ~       $18,112.50                  20.70            $875.00i              $875.00                         0

                  dames E.        Partner     Bankruptcy  1985                          $6,225.00                   8.30           $75Q.001              $750.00)                        0
    Delete
                                                                                                                                                                                               Doc 816-3




                  O'Neill                                                                                                                                        ~
    Delete        Harry D.        Of Counsel  Bankruptcy X1987                          $4,950.00                   6.60           $750.00               $750.00I                         Oi
                  Hochman                                ~                                                                                                       I
    Delete        Michael R.     iPartner     Bankruptcy1996                            $9,180.00                 13.60            $675.00               $675.00                         0
                  Seidl
    Delete          illiam L.    0
                                 1 f CounselBankruptcy    1980                i         $1,235.00                   1.90           $650.00               $650.00                         0
                  Ramseyer
                                                                                                                                                                                               Filed 02/19/16




    Delete        Joseph M.        ssociate   Bankruptcy 2014                           $5,688.00                 14.40            $395.00               $395.00                         0
                  Mulvihill                                                                      '
    Delete        Konica Molitor Paralegal    Bankruptcy I                             $15,158.50                 49.70            $305.00i              $305.00                         0

      Add         Click Add button to add additional timekeeper                                                                                                                            ~
                                                                                                                                                                                               Page 2 of 3




1 If applicable


Case Name:           Quiksilver Inc.
Case Number:         15-17880(BLS)
Applicant's Name:    Pachuiski Stanq Ziehl &Jones LLP
Date of Application: 02/7 9/2016
Interim or Final:    Interim

USTForm 11-33Q-B (2013)
                                                                 EXHIBIT B (continued)

                                                SUMMARY OF TIMEKEEPERS INCLUDED IN THIS FEE APPLICATION



                       NAME      j   TITLE OR    DEPARTMENT, DATE OF FIRS             FEES                 HOURS                     HOURLY RATE BILLED                        NUMBER
                                     POSITION     GROUP, OR   ADMISSION              BILLED                BILLED                                                              OF RATE
                                                   SECTION                                                                                                              i     INCREASES
                                                                                                                                                      N FIRST INTERIM                              ~
                                                                                IN THIS APPLICATION   IN THIS APPLICATION       R~ THIS APPLICATION    APPLICATION          SINCE CASE INCEPTION



     Delete       Cheryl A.      Paralegal      Bankruptcy                               $354.00                    1.20                $295.00              $295.00                           0
                  Knotts
     Delete       Denise A.      Paralegal      Bankruptcy                               $177.00                    0.60                $295.00              $295.00I                          0
                  Harris                                                                                                                                             i
                                                                                                                                                                                                       Case 15-11880-BLS




     Delete       Patricia E.    Paralegal      Bankruptcy                            $4,779.00                    16.20                $295.00,             $295.00                           0~
                  Cuniff
     Delete       Sheryle L.     Case         Bankruptcy                                   $67.50                   0.30                $225.00              $225.00                           0;
                  Pitman         Management
                                  ssistant
                                                                                                                                                                                                       Doc 816-3




     Delete       Charles J.     Case         Bankruptcy                    ~          $3,555.00i                  15.80;               $225.00                $225.0                          0
                  Bouzoukis      Management                                                                             ~
                                  ssistant
     Delete        ndrea R. Paul Case         Bankruptcy                                   $45.00                   0.20                $225.00              $225.00'                          0
                                 Management ~
                                  ssistant  ~
     Delete       Karen S. Neil CaseBankruptcy                                         $4,072.50                   18.10                $225.00              $225.00                           0
                                                                                                                                                                                                       Filed 02/19/16




                                 Management
                                  ssistant
     Delete       Beatrice M.   'Case         Bankruptcy                                   $22.50                   0.1                 $225.00              $225.00i                          0
                  Koveleski      Management j                                                                                                                        ~
                                  ssistant                                                                                  ~
                                                                                                                                                                                                       Page 3 of 3




~ If applicable


Case Name:              Quiksilver Inc.
Case Number:            15-11880(BLS)
Applicant's Name:       Pachulski Stanq Ziehl &Jones LLP
Date of App►ica~ion:    02/19/2016
Interim or Final:       Interim

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